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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA


IN RE:
                                                                                  CASE NO. 19-10655-JKO
CONSUMER ADVOCACY CENTER, INC.
                                                                                  CHAPTER 11 PROCEEDING
         Debtor
                                                /

                          DEBTOR’S CORPORATE OWNERSHIP STATEMENT

         CONSUMER ADVOCACY CENTER, INC., Debtor and Debtor-in-possession herein, by and

through its undersigned counsel, hereby files its Corporate Ownership Statement, in accordance with Rule

1007(a) of the Federal Rules of Bankruptcy Procedure, as follows:

         1.        No corporation directly or indirectly owns 10% or more of any class of the Debtor’s equity

interests.

         I HEREBY CERTIFY that on January 22 , 2019, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, and that the foregoing document is being served this day on all

counsel of record or pro se parties identified, either via transmission of Notices of Electronic Filing

generated by CM/ECF or in some other authorized manner for those counsel or parties who are not

authorized to receive electronically Notices of Electronic Filing.

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